                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          EASTERN DISTRICT OF TENNESSEE
                                   AT KNOXVILLE


     LORI ANN YANCEY, et al,                        )
                                                    )
            Plaintiffs,                             )
                                                    )
                                                    )
     vs.                                            )      No. 3:04-cv-556
                                                    )      No. 3:04-cv-610
     MARTY CARSON, et al,                           )      Varlan/Shirley
                                                    )
            Defendants.                             )


           PLAINTIFF’S RULE 26(a)(3) PRETRIAL DISCLOSURES OF EXHIBITS


                 Come now the Plaintiffs, pursuant to Rule 26(a)(3) of

     the Federal Rules of Civil Procedure, and disclose the following

     exhibits they expects to offer in their case in chief:


                 1.    Exhibits filed in support of and in opposition to

     Defendant’s summary judgment motion.

                 2.    Statements of Marty Carson

                 3.    W-2s and tax returns relating to John Yancey’s

     employment.

                 4.    Exhibits to all depositions

                 5.    Documents,     tape    and       video   recordings    and

     photographs in the TBI file

                 6.    Robby Carson Incident Report

                 7.    1/19/04 Supplemental Report

                 8.    Paramedic Report



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                 9.    911 recording and transcript

                 10.   Photos and video of trailer, including but not

     limited to video of trailer taken by Richard F. Qulia

                 11.   Photos taken by Robbie Carson

                 12.   video of news reports and press conferences

                 13.   Documents produced in discovery

                 14.   Documents identified in Defendants’ disclosures

                 15.   Exhibits identified and disclosed by Defendants




                 Respectfully submitted this 10th day of October, 2007.


                                  Law Office of Herbert S. Moncier


                                  By:   s/David S. Wigler
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                              CERTIFICATE OF SERVICE

               I hereby certify that on the date above written, a
     true and correct copy of the foregoing was filed electronically
     and notice of filing will be sent by operation of the Court’s
     electronic filing system to all parties indicated on the
     electronic filing receipt.     Parties may access this filing
     through the Court’s electronic filing system. All other parties
     will be served by U.S. Mail.


                                        s/David S. Wigler




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